                                        Case 24-12036-SMG                      Doc            Filed 04/19/24       Page 1 of 3
 Fill in this information to identify the case:

 Debtor 1                  Nayda Martinez
 Debtor 2                  Gustavo Cardenas
 (Spouse, if filing)
 United States Bankruptcy Court for the:        Southern   District of              Florida
                                                                                    (State)
 Case number                                   24-12036




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                       12/16
If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:                Deutsche Bank National Trust Company, as                     Court claim no. (if known):            6-1
                                 Indenture Trustee for Terwin Mortgage Trust
                                 2006-12SL Asset-Backed Securities, Series 2006-
                                 12SL C/O Specialized Loan Servicing, LLC

Last four digits of any number you use to
identify the debtor's account:                                               2415

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?

                No
                Yes. Date of the last notice:                           .

 Part 1:               Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an
 amount, indicate that approval in parentheses after the date the amount was incurred.

             Description                                                                       Dates incurred                                 Amount
 1.          Late charges                                                                                                             (1)
 2.          Non-sufficient funds (NSF) fees)                                                                                         (2)
 3.          Attorney fees                                                                                                            (3)
 4.          Filing fees and court costs                                                                                              (4)
 5.          Bankruptcy/Proof of claim fees                              Proof of Claim                                 03/18/2024    (5)        $262.50
 6.          Appraisal/Broker's price opinion fees                                                                                    (6)
 7.          Property inspection fees                                                                                                 (7)
 8.          Tax advances (non-escrow)                                                                                                (8)
 9.          Insurance advances (non-escrow)                                                                                          (9)
 10.         Property preservation. Specify:                                                                                         (10)
 11.         Other. Specify:                                             Plan Review Fee                                03/06/2024   (11)        $262.50
 12.         Other. Specify:                                                                                                         (12)
 13.         Other. Specify:                                                                                                         (13)
 14.         Other. Specify:                                                                                                         (14)
 15.         Total post-petition fees, expenses, and charges. Add all of the amounts listed above.                                   (15)        $525.00


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. §1322(b)(5) and Bankruptcy Rule 3002.1.




Official Form 410S2                           Notice of Postpetition Mortgage Fees, Expenses, and Charges                                      4152-N-0463
                                                                                                                                            NFC_122018_001
                                     Case 24-12036-SMG                    Doc    Filed 04/19/24        Page 2 of 3
Debtor 1                                       Nayda Martinez                          Case Number (if known)                24-12036
                        First Name             Middle Name          Last Name




Part 2:     Sign Here


The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

Check the appropriate box.

 I am the creditor.

 I am the creditor's authorized agent.


I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
information, and reasonable belief.



/s/ Mukta Suri
Signature                                                                           Date    04/17/2024


Print            Mukta Suri                                                         Title   Authorized Agent for Specialized Loan Servicing, LLC
                  First Name           Middle Name           Last Name



Company          Bonial & Associates, P.C.


Address          14841 Dallas Parkway, Suite 350
                 Number               Street

                 Dallas, Texas 75254
                 City                 State                  ZIP Code



Contact phone            (972) 643-6600                         Email    POCInquiries@BonialPC.com




Official Form 410S2                      Notice of Postpetition Mortgage Fees, Expenses, and Charges                                        4152-N-0463
                                                                                                                                         NFC_122018_001
                   Case 24-12036-SMG              Doc       Filed 04/19/24        Page 3 of 3



CERTIFICATE OF SERVICE OF NOTICE OF POST PETITION MORTGAGE, FEES, EXPENSES AND
                                   CHARGES

I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before April 19, 2024 via electronic notice unless otherwise stated.

Debtor               Via U.S. Mail
Nayda Martinez
4351 SW 22nd St
Fort Lauderdale, FL 33317


Debtor               Via U.S. Mail
Gustavo Cardenas
4351 SW 22nd St
Fort Lauderdale, FL 33317


Debtors' Attorney
Jose A. Blanco
Jose A. Blanco, P.A.
102 E 49th ST
Hialeah, FL 33013


Chapter 13 Trustee
Robin R. Weiner
PO Box 559007
Fort Lauderdale, Florida 33355




                                                      Respectfully Submitted,
                                                      /s/ Mukta Suri




NOTICE OF FEES AND COSTS - CERTIFICATE OF SERVICE                                                        4152-N-0463
                                                                                                      NFC_COSDflt_01
